Case 2:05-cr-20197-.]DB Document 11 Filed 07/19/05 Page 1 of 2 Page|D 9

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

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uNrrEr) sTATEs or AMER_ICA,
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Plaintiff, THOWW.S M. GOULD

CLEK, ¥l.$. §`,i§lill{)? COURT

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V. Cr. NO. 05-20197-13 mm """"5'§`…8

AUSTIN GARRET GUYER,

Defendant.

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on July l4, 2005. The Assistant United States Attorney appeared on behalf of the
government, and the defendant appeared in person and with the following counsel, who is appointed:

NAME: Pat Brown, Asst. Federal Defender
ADDRESS:

TELEPHONE:
The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (3 0) days from the date hereof unless, for good cause shown to a District
.ludge, such period is extendedl

The defendant, who is not in custody, may stand on his present bond.

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United States Magistrate Judge
Charges:
SPECIAL MARITIME AND TERRITORIAL J'URISDlCTION OF THE UNITED STATES

Assistant U.S. Attorney assigned to case: Oliver

The defendants age is: l9.

This document entered on the docket sheet in compliance

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UNITED sTATE DISIC COURT - WESTERN D's'TRCT oFTENNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
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J. Patten Brown

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

